EOIR - 1 of 4

Case 1:25-cv-01844-LAK Document1-2 Filed 03/05/25 Page1lof4

U.S. Department of Justice

Executive Office for Immigration Review

Board of Immigration Appeals
Office of the Clerk

3/07 Leesburg Pike, Suite 2000
Falls Chureh, Virginia 2204 1

Austin, Paige DHS/ICE Office of Chief Counsel - NYV
Make the Road 201 Varick Street, Rm. 1130
301 Grove St. New York NY 10014

Brooklyn NY 11237

Name: CANALES MOLINA, MILTON A 094-004-098

Date of this Notice: 2/2/2024

Enclosed is a copy of the Board's decision and order in the above-referenced case,

Sincerely,

Donna Carr
Chief Clerk

Enclosure

Userteam: Docket

EOIR —- 2 of 4

Case 1:25-cv-01844-LAK Document1-2 Filed 03/05/25 Page2of4

U.S. Department of Justice

Executive Office for Immigration Review

Board of Immigration Appeals
Office of the Clerk

3/07 Leesburg Pike, Suite 2000
Falls Church, Virginia 22041

CANALES MOLINA, MILTON DHS/ICE Office of Chief Counsel - NYV
A 094004098 201 Varick Street, Rm. 1130
830 PINE HILL ROAD New York NY 10014

JENA LA 71342

Name: CANALES MOLINA, MILTON A 094-004-098

Date of this Notice: 2/2/2024

Enclosed is a copy of the Board's decision in the above-referenced case, This copy is being
provided to you as a courtesy. Your attorney or representative has been served with this decision
pursuant to 8 C.F_R. § 1292.5(a). If the attached decision orders that you be removed from the
United States or affirms an Immigration Judge's decision ordering that you be removed. any
petition for review of the attached decision must be filed with and received by the appropriate
court of appeals within 30 days of the date of the decision,

Sincerely,

Denna Cans

Donna Carr
Chief Clerk

Enclosure

Userteam: Docket
EOIR - 3 of 4

Case 1:25-cv-01844-LAK Document1-2 Filed 03/05/25 Page3of4

NOT FOR PUBLICATION

U.S. Department of Justice
Executive Office for Immigration Review
Board of Immigration Appeals

MATTER OF:
FILED

Milton CANALES MOLINA, A094-004-098 sh  S6A

Applicant

ON BEHALF OF APPLICANT: Paige Austin, Esquire
ON BEHALF OF DHS: Margaret Eder, Assistant Chief Counsel

IN WITHHOLDING ONLY PROCEEDINGS!
On Motion from a Decision of the Board of Immigration Appeals

Before: Crossett, Temporary Appellate Immigration Judge?

CROSSETT, Temporary Appellate Immigration Judge

This matter was last before the Board on November 8, 2022, when we dismissed the applicant’ s
appeal from an Immigration Judge’s July 8, 2022, decision denying his application for withholding
of removal under section 241(b)(3) of the Immigration and Nationality Act (“INA”), 8 U.S.C.
§ 1231(b)(3), and protection under the regulations implementing the Convention Against Torture
(“CAT’).3 On September 15, 2023, the applicant filed the present motion to reopen, in which he
argues that he received ineffective assistance of counsel during his initial proceedings and,
alternatively, that changed country conditions in El Salvador require further evaluation of his
eligibility for CAT protection. The Department of Homeland Security opposes the motion. The
motion to reopen will be granted and the record remanded.

The applicant seeks CAT protection based in part on his fear of torture by the Salvadoran
government, which will likely take him into official custody upon removal to face pending criminal
charges as a suspected murderer and gang member. The applicant’s motion persuades us that
conditions in El Salvador have changed since his final hearing in Immigration Court on June 30,

' The applicant is in withholding-only proceedings because he is subject to a reinstated removal
order but was found by an asylum officer to have a reasonable fear of persecution or torture in

El Salvador. 8 C.F.R. §§ 1208.2(c)(2)(i), 1208.31(e).

2 Temporary Appellate Immigration Judges sit pursuant to appointment by the Attomey General. See
generally 8 C.F.R. § 1003.1(a)(1), (4).

4 The Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or
Punishment, Dec. 10, 1984, S. Treaty Doc. No. 100-20, 1465 U.N.T.S. 85 (entered into force for

United States Noy. 20, 1994), 8 C_P.R. §§ 1208.16(c)-1208.18.
EOIR —- 4 of 4

Case 1:25-cv-01844-LAK Document1-2 Filed 03/05/25 Page4of4

A094-004-098

2022, and that these changed conditions—in which El Salvador’s March 2022 “State of Exception”
pertaining to suspected gang members has been dramatically expanded in scope and apparent
permanence—are material to his eligibility for CAT protection and, indeed, sufficient to establish
his prima facie eligibility for such protection when viewed in conjunction with the evidence
already of record. Though the State of Exception began several months betore the applicant's final
hearing, the changes occurring since then embody a substantial escalation and entrenchment of a
policy that was initially presented as temporary, not a mere “incremental or incidental”
deterioration of preexisting conditions. See Matter of S-Y-G-, 24 1&N Dec. 247, 257 (BIA 2007).
In sum, though we express no present opinion as to the merits of the applicant's CAT claim, we
are convinced that further consideration of the claim is needed.*

Accordingly, the following order will be issued.

ORDER: The applicant’s motion to reopen is granted and the record is remanded for further
proceedings consistent with the foregoing opinion.

+ As we are remanding this matter for firther consideration of the applicant’s CAT claim based
on changed country conditions in El Salvador, we find it unnecessary to reach his arguments
pertaining to alleged ineffective assistance of former counsel. JNS v. Bagamasbad, 429 U.S. 24,
25 (1976) (stating that “[a]s a general rule courts and agencies are not required to make findings
on issues the decision of which is unnecessary to the results they reach.”). The parties will be tree
to supplement the record on remand.

Nm
